                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LATESSIA TAYLOR,                                         )
                                                         )
       Plaintiff,                                        )        Case:1:22-cv-04997
                                                         )
v.                                                       )
                                                         )
WAL-MART STORES, INC.                                    )
                                                         )
       Defendant.                                        )        Jury Trial Demanded
                                                         )



                                          COMPLAINT

       Plaintiff, Latessia Taylor (“Plaintiff”), by and through the undersigned counsel, hereby

files this Complaint against Defendant, Wal-Mart Stores, Inc. (“Defendant”), and in support

states as follows:

                             NATURE OF PLAINTIFF’S CLAIMS

       1.      This lawsuit arises under the Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. § 2000e et seq. (“Title VII”) for Defendant’s discrimination on the basis of sex and

sexual harassment against Plaintiff, in violation of Title VII.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331. This action

is authorized and instituted pursuant to the Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e-5 et seq.

       3.      Venue of this action properly lies in the Northern District of Illinois, Eastern

Division, pursuant to 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391(b) insofar as Defendant

operates and transacts business in this judicial district and the events giving rise to Plaintiff’s
claims occurred within this District.

                               ADMINISTRATIVE PREREQUISITES

       4.      All conditions precedent to jurisdiction under § 706 of Title VII, 42 U.S.C.

§2000e-5, have occurred or been complied with.

       5.      A charge of sexual harassment and sex-based discrimination was filed by the

Plaintiff with the Equal Employment Opportunity Commission (“EEOC”) and Illinois

Department of Human Rights (“IDHR”). (Attached hereto as Exhibit “A”).

       6.      Plaintiff received a Notice of Right to Sue from the EEOC (attached hereto as

Exhibit “B”), and Plaintiff filed this lawsuit within ninety (90) days of her receipt of the EEOC’s

Notice of Right to Sue.

                                            PARTIES

       7.      At all times material to the allegations of this Complaint, Plaintiff, Latessia Taylor,

resides in Cook County in the State of Illinois.

       8.      At all times material to the allegations in this Complaint, Defendant, Wal-Mart

Stores, Inc., is a corporation doing business in and for Cook County whose address is 3626 Touhy

Avenue, Skokie, IL 60076.

       9.      Plaintiff was employed by Defendant as an “employee” within the meaning of 42

U.S.C § 2000e(f).

       10.     During the applicable limitations period, Defendant has had at least fifteen

employees, has been an “employer” as defined by Title VII, and has been engaged in an industry

affecting commerce within the meaning of Title VII, 42 U.S.C. § 2000e(b).

                                    BACKGROUND FACTS

       11.     Plaintiff was hired by Defendant as an associate in or about November 13, 2013.




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       12.     Beginning in 2022, Plaintiff was sexually harassed by one of the Defendant’s loss

prevention employee (Abraham) (Male) nearly every time she went into work.

       13.     During Plaintiff’s employment, she was subjected to sexually offensive comments

by Abraham that included: “I can see your pu**y through your pants.”

       14.     On or around April 14, 2022, during Plaintiff’s lunch break, Abraham made another

sexually offensive comment to her.

       15.     Plaintiff immediately objected to Abraham sexually offensive comments and

advances.

       16.     As Plaintiff was returning to her shift, Abraham sexually assaulted Plaintiff by

grabbing her buttocks.

       17.     Plaintiff was distraught by the sexual assault and became fearful for her safety.

       18.     The following day, when Plaintiff went on her lunch break, Abraham came in and

sat next her and told Plaintiff, “I have a bone to pick with you… I want you.” and began rubbing

and touching Plaintiff inappropriately.

       19.     Plaintiff continued to grope Plaintiff and sexually touch her even though Plaintiff

told him to stop as she was trying to get away from him.

       20.     Plaintiff immediately left the breakroom to go to the restroom to get away from

Abraham.

       21.     Abraham followed Plaintiff in the restroom and attempted to grab her.

       22.     Fortunately, another female coworker was in the restroom and yelled at Abraham

“you don’t belong in here!”

       23.     Plaintiff promptly called the police and filed a police report against Abraham for

the sexual assault.




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       24.     Plaintiff reported the sexual harassment to her Manager, Allen (LNU) (Male), who

ultimately ignored her complaints.

       25.     To best of Plaintiff’s knowledge, Abraham was not terminated.

       26.     Plaintiff no longer felt comfortable or safe working at that location so she requested

a transfer, which was ignored.

       27.     Due to the sexual harassment and Defendant’s denial of Plaintiff’s transfer, on July

27, 2022, Plaintiff was constructively discharged.

       28.     As such, Plaintiff has suffered loss of employment, loss of income, loss of other

employment benefits and has suffered and continues to suffer mental anguish, distress, humiliation

and loss of enjoyment of life.

                                          COUNT I
                        Sexual Harassment in Violation of Title VII of
             the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

       29.     Plaintiff repeats and re-alleges paragraphs 1-28 as if fully stated herein.

       30.     By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices and harassed the Plaintiff on the basis of her sex, female, in violation of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

       31.     Defendant knew or should have known of the harassment.

       32.     The sexual harassment was severe or pervasive.

       33.     The sexual harassment was offensive subjectively and objectively.

       34.     Plaintiff is a member of a protected class under Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e, et seq., due to her sex, female.

       35.     Defendant acted in willful and reckless disregard of Plaintiff’s protected rights. As

a direct and proximate result of the discrimination described above, Plaintiff has suffered and




                                                 4
continues to suffer loss of employment, loss of income, loss of other employment benefits and has

suffered and continues to suffer mental anguish, distress, humiliation and loss of enjoyment of life.

       36.     By reason of Defendant’s sexual harassment, Plaintiff suffered severe harm and is

entitled to all legal and equitable remedies under Title VII.

                                             COUNT II
                       Sex-Based Discrimination in Violation of Title VII of
                 the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq.

       37.     Plaintiff repeats and re-alleges paragraphs 1-28 as if fully stated herein.

       38.     By virtue of the conduct alleged herein, Defendant intentionally discriminated

against Plaintiff based on her sex, in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §2000e, et seq.

       39.     Defendant treated similarly situated employees outside of Plaintiff’s class more

favorably.

       40.     Plaintiff suffered from an adverse employment action including but not limited to

being constructively discharged.

       41.     Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless violation

of Title VII of the Civil Rights Act of 1964.

       42.     Defendant acted in willful and reckless disregard of Plaintiff’s protected rights. As

a direct and proximate result of the discrimination described above, Plaintiff has suffered and

continues to suffer loss of employment, loss of income, loss of other employment benefits and has

suffered and continues to suffer mental anguish, distress, humiliation and loss of enjoyment of life.

       43.     By reason of Defendant’s discrimination, Plaintiff suffered severe harm and is

entitled to all legal and equitable remedies under Title VII.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:


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                      a.     Back pay and benefits;

                      b.     Interest on back pay and benefits;

                      c.     Front pay and benefits;

                      d.     Compensatory damages for emotional pain and suffering;

                      e.     Pre-judgment and post-judgment interest;

                      f.     Injunctive relief;

                      g.     Liquidated damages;

                      h.     Punitive damages;

                      i.     Reasonable attorney’s fees and costs; and

                      j.     For any other relief this Court may deem just and equitable.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby requests that all issues be submitted to and determined by a jury.

Dated this 14th day of September 2022.

                                             /s/ Nathan C. Volheim
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